Case 2:04-Cr-20017-BBD Document 359 Filed 07/29/05 Page 1 of 19 Page|D 743

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IN THE UNITED S'I'ATES DISTRICT COURT 05 JU
FOR THE WESTERN DISTRICT OF TEN'NESSEE L 29 3: 119
WESTERN DIVISION
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UNITED STATES OF AMERICA,
Plaintiff,

vs. No. 04-20017 D/V

R.ANDE LAZAR, M.D., d/b/a

OTOLARYNGOLOGY CONSULTANTS
OF MEMPHIS

vv`_¢`_¢`_d~_¢~_d\_¢h_/\_/v

Defendant.

 

REPORT A.N'D RECOMENDATION ON DEFENDANT'S MOTION TO SUPPRESS A.N'D
EXCLU'DE ALL RECORDS SU'BPOENAED PURSUANT TO DOJ HEALTH CARE
SUBPOENAS (DQC. NO. 202)

 

Before the court is the November 23, 2004 nmtion of the
defendant, Rande Lazar, M.D., d/b/a Otolaryngology Consultants of
Memphis, to suppress all records subpoenaed post-indictment
pursuant to 18 U.S.C. § 3486 Department of Justice health care
subpoenas. The motion.was referred to the United States Magistrate
Judge for a report and recommendation. For the following reasons,
it is recommended that the motion be granted.

BACKGROUND

In January of 2004, the grand jury for the Western District of
Tennessee returned a 115-count indictment charging Dr. Lazar with
devising and executing a scheme to defraud and obtain money from

health care benefit programs in violation of 18 U.S.C. § 1347. A

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Case 2:04-Cr-20017-BBD Document 359 Filed 07/29/05 Page 2 of 19 Page|D 744

120-count superseding indictment was returned by the grand jury on
November 19, 2004.

Subsequent to the original indictment in this case and before
the superseding indictment, the government issued Department of
Justice health care subpoenas pursuant to 18 U.S.C. § 3486 to
obtain records relating to Dr. Lazar and his business,
Otolaryngology Consultants of Memphis. The subpoenas, which have
since been filed under seal by the government, sought Lazar's
account activity information from several banks, certification and
academic records for Lazar¢ records related to the hospital
privileges of Lazar, and records from various insurance companies
regarding Lazar’s billing practices.

On August 27, 2004, Lazar filed a motion to suppress only the
hospital records subpoenaed post~indictment pursuant to 18 U.S.C.
§ 3486. The present motion is in addition to the August 27, 2005
motion and requests suppression of all records seized pursuant to
DOJ health care subpoenas on different grounds. This motion was
originally granted because the government failed to respond to the
motion in the time allowed by Local Criminal Rule 12.1. The
government filed a motion to reconsider that ruling, and the court
granted its request. The government filed a response to the motion
on January 6, 2005. Lazar appealed the court's ruling to

reconsider, and Judge Donald affirmed the magistrate judge's order

Case 2:04-Cr-20017-BBD Document 359 Filed 07/29/05 Page 3 of 19 Page|D 745

granting the government's request to reconsider on April 13, 2005.

A hearing was held on this motion on May 25, 2005. Although
it was set for an evidentiary hearing, no witnesses were presented.
The court took the motion under advisement and allowed the
government additional time to file a brief explaining the
legislative history of 18 U.S.C § 3486. The government filed its
brief on June 13, 2005. The court also requested that the
government submit the DOJ subpoenas for an in camera review. The
subpoenas were filed under seal on June 23, 2005.

PROPOSED CONCLUSIONS OF LAW

The first issue is whether Lazar has standing to challenge
subpoenas directed towards third parties. If the court finds Lazar
has standing, the court must then determine whether 18 U.S.C. §
3486 conforms with the mandates of the Fifth Amendment of United
States Constitution.
I. Standinq to Move for Suppression of Records From Hospitals

The government cites United States v. Phibbs, 999 F.2d 1053
(6th Cir. 1993) as authority for the proposition that a defendant
has no standing to contest on Fourth Amendment grounds
administrative subpoenas issued to third parties unless the party

can show some personal right or expectation of privacy attached to

Case 2:04-Cr-20017-BBD Document 359 Filed 07/29/05 Page 4 of 19 Page|D 746

the subpoenaed.materials.1 Phibbs involved a defendant, Rojas, who
was convicted of participating in a cocaine ring. Rojas was
originally indicted in. May of 1990 in a single-count, sealed
indictment. A l3-count superseding indictment was returned against
Rojas in March of 1991. After the return of the original
indictment and before the superseding indictment was returned, the
government issued DEA administrative subpoenas under the authority
of 21 U.S.C. § 876(a) for Rojas’ telephone records and those of his
co-defendants and for Rojas' credit card statements. Rojas
contended that records subpoenaed from the telephone company were
an abuse of subpoena power.

The court stated that although recipients of administrative
subpoenas were extended Fourth.Amendment protections, Rojas did not
have standing to dispute the issuance of the subpoenas since they
were directed to third party businesses unless Rojas had “a
legitimate expectation of privacy attaching to the records
obtained.” Phibbs, 99 F.2d at 1077. The court determined that

Rojas did not have a legitimate expectation of privacy in any of

 

1. Despite the fact that Lazar is seeking to suppress all
records obtained pursuant to DOJ subpoenas, the government only
contends in its response to this motion that Lazar does not have
standing to challenge the health care subpoenas issued to the
hospitals. Therefore, the court assumes that the government does
not contest Lazar’s standing to challenge the subpoenas issued to
the banks, universities, insurance companies, and other
institutions.

Case 2:04-Cr-20017-BBD Document 359 Filed 07/29/05 Page 5 of 19 Page|D 747

the materials, including his phone records and credit card
statements, because the subpoenaed records contained information
“readily accessible to employees during the normal course of
business". Id. at 1078. The court held therefore that Rojas
lacked standing to challenge the government’s use of DEA subpoenas
post-indictment. See also United States v. Daniels, 2000 WL
764951(D. Kan. 2000) (holding defendant lacked standing to challenge
DOJ post-indictment health care subpoenas issued under 18 U.S.C. §
3486 without explaining the nature of the records sought); United
States V. Moffett, 84 F.Bd 1291 (10th Cir. 1996) (holding defendant
lacked standing to challenge pre-indictment DEA administrative
subpoena issued under 21 U.S.C. § 876(a) for train manifest - a
business record of Amtrack - because defendant had no expectation
of privacy in the information) .

The present case differs from Phibbs. Unlike the telephone and
credit card records subpoenaed in Phi.b.bs, the hospital records at
issue here were not “readily accessible to employees during the
normal course of business.” The records sought by the DOJ
subpoenas from hospitals in this case were generated by the
hospitals pursuant to medical peer review committee proceedings.
The Tennessee Peer Review Law of 1967l Tenn. Code Ann. § 53-6-
219(e), provides that all information, reports, statements,

memoranda or other data furnished to or generated by a medical peer

5

Case 2:04-Cr-20017-BBD Document 359 Filed 07/29/05 Page 6 of 19 Page|D 748

review committee, and any findings, conclusions or recommendations
resulting from the proceedings of such committee are privileged and
confidential. The purpose of Tennessee's Peer Review Law is to
candidly and objectively evaluate and review a physician's
professional conduct, competence, and ability to practice medicine.
Tenn. Code Ann. §63-6-219(b)(1). It goes without saying that
confidentially of peer review committee proceedings is important to
the process. Id. The Tennessee Peer Statute recognizes “that
confidentiality is essential both to effective functioning of these
peer review committees and to continued improvement in the care and
treatment of patients.” Id. The statute further states “[T]he
records and.proceedings of any such committees are confidential and
shall be used by such committee, and the members thereof only in
the exercise of the proper functions of the committee, and shall
not be public records nor be available for court subpoena or for
discovery proceedings.” Tenn. Code Ann. § 63-6-219(e). According
to the statute, the records can be disclosed to the affected
physician under review without waiving the confidentiality of the
records.

A legitimate expectation of privacy is “an expectation of
privacy that society is prepared to consider reasonable.” United
States v. Jacobsen, 466 U.S. 109, 113 (1984). Because by statute

the peer review committee records are to be kept confidential but

6

Case 2:04-Cr-20017-BBD Document 359 Filed 07/29/05 Page 7 of 19 Page|D 749

still available to the affected.physician, Lazar has an expectation
of privacy in the records sought by the subpoenas that society
would recognize as reasonable. Thus, Lazar has standing to
challenge the validity of the DOJ subpoenas issued to the hospitals
based on the fact that discussions between him and the hospital and
records concerning his reinstatement were, and remain, highly
confidential. The fact that there is no peer review privilege in
federal court does not foreclose Lazar from having an expectation
of privacy in conversations and/or meetings he had with the
hospital concerning his reinstatement or records of the proceedings
nor does it make the records non-confidential. Accordingly, Lazar
has a legitimate expectation of privacy in the subpoenaed records
sufficient to confer standing to challenge the validity of the DOJ

subpoenas.

II. Constitutionality of Administrative Health Care Subpoenas
Lazar contends that because DOJ subpoenas are to be used only

in criminal investigations, their use by the prosecution to obtain

over 20,000 documents post-indictment intrudes on the exclusive

province of the grand jury under the Fifth Amendment, thus making

§ 3485 unconstitutional.2 Section 3486 authorizes the Attorney

 

1. Lazar also initially argued that by using a Department of
Justice administrative subpoena to obtain criminal evidence, the
prosecution failed to conform to the Fourth Amendment's probable
cause requirements. This argument has been withdrawn as Lazar

7

Case 2:04-Cr-20017-BBD Document 359 Filed 07/29/05 Page 8 of 19 Page|D 750

General to issue in writing an administrative subpoena requesting
the production of any records relevant to “any investigation of a
Federal health care offense.” It states:
§ 3486. Administrative subpoenas
(a) Authorization.
(l)In any investigation of -
(i)(I) A Federal health care offense . . . ,
the Attorney General . . . may issue in
writing and cause to be served a subpoena
requiring the production and testimony
describe in subparagraph (B).
18 U.S.C. § 3486. The term “federal health care offense” is
defined in 18 U.S.C. § 24 as a violation of, or a criminal
conspiracy to violate, 18 U.S.C. § 669 (theft or embezzlement from
a health care benefit program), § 1035 (making false statements in
relation to delivery of or payment for health care benefits), §1347
(fraud on a health care benefit program) or § 1518 (obstruction of
criminal investigation of health care offenses). 18 U.S.C. § 24.

Lazar has been charged with violations of 18 U.S.C. § 1347.

This statute gives the federal government's chief prosecutor

 

acknowledged through a notice of additional authority that the case
law cited by him, United States v. Phibbs, 999 F.2d 1053 (6th Cir.
1993) was not controlling on the issue presented in his motion.
Instead. in a more recent case, Doe v. United States, 253 F.3d 256
(6th Cir. 2001), the Sixth Circuit held that the DOJ need not make
a showing of probable cause to issue an administrative subpoena
under 18 U.S.C § 3486. The Phibbs case is distinguishable because
it involved an on-premise search and inspection. Where an on-
premise search is involved pursuant to an administrative subpoena,
unlike the subpoenas at issue in this umtion, a valid search
warrant and a showing of probable cause are needed.

8

Case 2:04-Cr-20017-BBD Document 359 Filed 07/29/05 Page 9 of 19 Page|D 751

broad investigatory subpoena powers. Pursuant to the plain
language of the statute, these powers may only be used in
furtherance of investigating criminal health care offenses as
opposed to regulatory compliance or both civil regulatory matters
and criminal matters. In re Subpoenas Duces Tecum, 51 F.Supp.2d
726, 735 (W.D.Va. 1999). Indeed, the Congressional Record indicates
that Congress intended to enhance the investigatory tools of the
United States in criminal health care fraud investigations. See
142 CONG. Rsc. 89501-01 (daily ed. Aug. 2, 1996)(statement of
Senator Cohen).

The Fifth Amendment of the United States Constitution
guarantees that “[n]o person shall be held to answer for a capital,
or otherwise infamous crime, unless on a presentment or indictment
of a Grand Jury.” “[T]he grand jury’s mission is . . . to
determine whether to make a presentment or return an indictment.”
United States v. Mandujano, 425 U.S. 563l 573 (1976).

Lazar's main contention is that § 3486 is unconstitutional
because it allows the government to exercise authority
constitutionally reserved for the Grand Jury under the Fifth
Amendment. By availing itself post-indictment of the DOJ
administrative subpoenas to secure evidence in a criminal
prosecution, Lazar claims that the government is circumventing the

role of the Grand Jury. Lazar maintains that by allowing the DOJ

9

Case 2:04-Cr-20017-BBD Document 359 Filed 07/29/05 Page 10 of 19 Page|D 752

to compel the production of criminal evidence post-indictment
through the use of an administrative subpoena, Congress has
interfered with the Grand Jury's power to investigate. Thusl Lazar
claims that the government has violated his Fifth.Amendment rights.

Lazar cites United States v. Weingarden, 473 F.2d 454 (6th
Cir. 1973) to support his contention that § 3486 is
unconstitutional. In Weingarden, the government audited taxpayers'
returns after they reported a theft of their savings bonds. An
Internal Revenue Agent issued a summons to the taxpayers'
accountant pursuant to 26 U.S.C. § 7602 for the production of
copies of the taxpayers' tax returns. The accountant referred the
agent to the attorney for the taxpayers who refused to comply with
the summons. The agent then filed an action against the attorney
to enforce the summons. The district court denied the action and

quashed the summons.

On appeal, the government asserted that the summons should be
enforced because at the time it was issued there was no
recommendation to the Department of Justice that the taxpayers be
prosecuted. Neverthelessl the attorney argued that the summons
should be quashed because its sole purpose was to obtain evidence
for a criminal prosecution. The court reversed the judgment and
remanded the case for enforcement of the summons. Despite the fact
that the taxpayers were recommended for prosecution subsequent to

10

Case 2:04-Cr-20017-BBD Document 359 Filed 07/29/05 Page 11 of 19 Page|D 753

the issuance of the summons, the court held that the summons should
be enforced because the summons was issued for the purpose of the
government's determination of civil tax liability and possible

fraud penalties.

The court further held that after a tax violation has been
referred to the DOJ for criminal prosecutionl the DOJ cannot ask
the IRS to use its § 7602 summons power to build a case for it. To
permit the DOJ to use § 7602 for documents in which to build its
case wouLi be an abuse of the court’s process and authority.
Likewise, “where the sole purpose for the issuance of a § 7602
summons is to aid in the prosecution of a taxpayer (even though
issued by an agent of the Internal Revenue Service) the effect is
that it is the Department of Justice which is in reality using the
summons.” Id. at 459. By quashing the summons in Weingarden, the
court effectively prohibited the DOJ from using IRS summonses to

gather criminal litigation discovery.

Lazar cites footnote nine in Weingarden for the proposition
that the Grand Jury’s role precludes the DOJ, in its role as
prosecutor, from using its own administrative subpoena power to
gather evidence for a pending criminal prosecution. Footnote nine

states in its entirety:

The reason that broad subpoena powers were given to the
administrative agency and not to the prosecutorial

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Case 2:O4-Cr-20017-BBD Document 359 Filed 07/29/05 Page 12 of 19 Page|D 754

department lies in our Grand Jury system. Broad
investigatory, inquisitory and subpoena_powers were given
to that body of citizens drawn from the community; like
powers were not intended to be in the hands of the
prosecutors of crime. See, e.g., Fraser v. United
States, 452 F.2d 616 (7th Cir. 1971), where the Court
held that the Fourth Amendment was not applicable to a
"seizure" of documents by the Grand Jury, although
clearly it would be applicable if the Government
attempted such a seizure. On the other hand, an
administrative investigation and subpoena is given broad
latitude in many respects similar to the latitude of a

Grand Jury investigation and subpoena. (citations
omitted).

United States v. Weingarden, 473 F.2d 454, 459 n.9 (6th Cir. 1973).
Lazar thus contends that the authority given to the DOJ to issue
administrative subpoenas pursuant to § 3486 is in direct conflict
with the Fifth Amendment’s Grand Jury Clause as the power to
investigate criminal violations was intended to remain in the hands
of the Grand Jury.

To further support his motion, Lazar cites United States V.
O'Conner, 118 F.Supp. 248 (D.Mass. 1953). Like Weingarden,
O'Conner also dealt with a summons issued under the authority of
the Internal Revenue Code. The opponent of the subpoena, O’Conner,
was the accountant for a man that had been indicted by the grand
jury. O'Conner sought to quash the subpoena for documents in his
possession that had been issued under the authority of § 3614 of
the Internal Revenue Code. He argued that the court “ought not

lend its aid in enforcing compliance with a subpoena

12

Case 2:O4-Cr-20017-BBD Document 359 Filed 07/29/05 Page 13 of 19 Page|D 755

administratively issued by a Treasury official to aid the United
States Attorneyl or Department of Justice” in building a case
against the man that had been indicted. O’Conner, 118 F.Supp. at
250. The court agreed with O'Conner and denied the petition to
enforce the subpoena.
The court commented on the role of the Grand Jury by stating:
The Constitution of the United States, the statutes, the
traditions of our law, the deep rooted.preferences of our
people speak clearly. They recognize the primary and
nearly exclusive role of the Grand Jury as the agency of
compulsory disclosure. That is the inquisitorial body
provided by our fundamental law to subpoena documents
required in advance of a criminal trial, and in the
preparation of an indictment or its particularization.
Id. at 250-51. The court further noted, “To encourage the use of
administrative subpoenas as a device for compulsory disclosure of
testimony to be used in, presentments of criminal cases would
diminish one of the fundamental guarantees of liberty. Moreover,
it would sanction perversion of a statutory power.” Id. at 251.
The court also stated that “[s]o far as [it] knows, Congress has
never in criminal matters vested the executive with an unrestricted
subpoena power to uncover information which might aid in
enforcement of criminal statutes and the preparation of criminal
cases." Id. at 250.

The United States Supreme Court has also spoken on the issue

' of whether the DOJ may use subpoena power to discover evidence in

13

Case 2:O4-Cr-20017-BBD Document 359 Filed 07/29/05 Page 14 of 19 Page|D 756

a criminal investigation. United States v. LaSalle Nat. Bank, 437
U.S. 298 (1978). In LaSalle, an Internal Revenue Service agent
issued two summonses under 26 U.S.C. § 7602 to LaSalle National
Bank. LaSalle refused to produce the materials requested because
it argued that the IRS investigation.was purely criminal in nature.
The IRS sought enforcement of the summonses. The trial court
denied enforcement on the ground that the IRS did not issue the
summons in good faith because the summons was issued solely to
obtain evidence for use in a criminal prosecution. The appellate

court affirmed.

The Supreme Court granted certiorari to determine whether the
lower court correctly refused to enforce the IRS summonses when it
found that IRS agent was conducting his investigation for the
purpose of securing evidence of criminal conduct. The Court held
that the trial court erred in refusing to enforce the summons. The
court reasoned that because Congress created a tax enforcement
system.with interrelated criminal and civil elements in enacting 26
U.S.C. § 7602, it did not intend for IRS subpoena power to be
limited merely because of the presence of a criminal violation. In
other words, simply because the agent was investigating the
taxpayers for criminal conduct did not necessity mean that the IRS
was not pursuing its statutorily authorized purpose of a civil tax
determination. As long as the IRS issued its summons before

14

Case 2:O4-Cr-20017-BBD Document 359 Filed 07/29/05 Page 15 of 19 Page|D 757

referral for criminal prosecution, the IRS summons was enforceable

if it was issued in good faith. The court found no evidence of bad

faith.

The Court's discussion regarding the use of an administrative
summons did not end there, however. The Court went on to discuss
the limitations on the use of a § 7602 summons and the policy
concerns that arise at the time when. a case is referred for
criminal prosecution to the Judicial Department. The Court stated

that:

Nothing in § 7602 or its legislative history suggests
that Congress intended the summons authority to broaden
the Justice Department's right of criminal litigation
discovery or to infringe on the role of the grand jury as
a principal tool of criminal accusation. The likelihood
that discovery would be broadened or the role of the
grand jury infringed is substantial if post-referral use
of summons authority were permitted.

Id. at 312. The Court further stated that:

We cannot deny that the potential for expanding the
criminal discovery rights of the Justice Department or
for usurping the role of the grand jury exists at the
point of the recommendation by the special agent.

Id. at n.15. Based on these statements, it is clear that the Court
was not willing to bestow upon the Department of Justice the same

investigatory powers traditionally reserved for the Grand Jury.

In response to Lazar's motion, the government contends that

15

Case 2:O4-Cr-20017-BBD Document 359 Filed 07/29/05 Page 16 of 19 Page|D 753

Weingarden does not support the notion that § 3486 is
unconstitutional and that Lazar's citation to and quoting from
Weingarden are misleading. According to the government, footnote
nine, which was only cited in part by Lazar, addresses only the
Fourth Amendment, not the Fifth Amendment. Furthermore, the
government argues that Weingarden only addressed the narrow issue
where subpoena power was specifically given to the Internal Revenue

Service and not to the DOJ.

This appears to be a case of first impression. Neither party
has presented to the court any controlling case law which squarely
addresses the issue of whether 18 U.S.C. § 3486 is unconstitutional
and thus violates the grand jury clause of the Fifth Amendment. In
the cases cited by the defendant and discussed above, Congress had
vested administrative subpoena power in the IRS to investigate both
civil and criminal tax liability. Under 18 U.S.C. § 3486, however.
unlike the IRS summons and as the government has correctly stated,
Congress has explicitly granted the DOJ the authority to issue

subpoenas for only criminal investigations. not civil, without any

limitation.

Although the cases cited by Lazar are distinguishable from the
present case in some respect, the policy considerations articulated

by the Supreme Court in United States v. LaSalle Nat. Bank apply

16

Case 2:O4-Cr-20017-BBD Document 359 Filed 07/29/05 Page 17 of 19 Page|D 759

with the same force. In LaSalle, the Supreme Court recognized the
“likelihood that discovery would be broadened or the role of the
grand jury infringed” if the IRS agents were permitted to use their
subpoena powers after a referral for criminal prosecution is made
to the Justice Department. LaSalle, 437 U.S. at 312. The Court
felt that there was potential for abuse if the criminal discovery
rights of the DOJ were expanded or the DOJ was allowed to usurp the
role of the Grand Jury. Although Weingarden was decided prior to
the Court's opinion in LaSalle, the Sixth Circuit recognized the
same policy concerns in Weingarden that the Supreme Court
enunciated in.LaSalle, making clear that broad investigatory powers
were not intended by the framers of our Constitution to be in the
hands of prosecutors, but rather, these powers were given

exclusively to the Grand Jury.

Section 3486 does the very thing that the Supreme Court
feared. It broadens the discovery rights of the Justice Department
in criminal prosecutions. As written, the statute allows the DOJ
to continue to use its healthcare summons authority to aid in its
prosecution of an already indicted defendant under the guise of
“investigating” new charges. The potential for abuse lies in the
fact that there is no way to prove or disprove the pretense that
the government is using this subpoena. power to “investigate”

further criminal violations. Moreover, there is nothing in the

17

Case 2:O4-Cr-20017-BBD Document 359 Filed 07/29/05 Page 18 of 19 Page|D 760

legislative history that indicates that Congress intended to
broaden the DOJ's criminal litigation discovery tools. That is

precisely what this statute does.

Without the proper limitation, the court finds that this
statute is unconstitutional in that it takes what is an exclusive
investigatory right of the Grand Jury and places it in the hands of
the Justice Department. A finding that this statute is
unconstitutional does not affect the DOJ's ability to prosecute
criminal violations. It merely means that the government must seek
Grand Jury subpoenas post-indictment to secure evidence during an
investigation of criminal violations. This finding does, however.
protect a defendant from the government's potential misuse of the
criminal discovery process by obtaining litigation discovery under
the pretext of a continuing “investigation.” Accordingly, it is
recommended that the defendant's motion to suppress and exclude all
records subpoenaed pursuant to DOJ health care subpoenas be

granted.

Respectfully submitted this 29th day of July, 2005.

A/wu> V( Z¢EW/"

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

18

 

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This notice confirms a copy cf the document docketed as number 359 in
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